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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT aut

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District of Minnesota

United States of America
v. )
Michael Paul Lewis (1) ) Case No. CR 25-153 JWB/DJF
)
} RECEIVED
) APR 2 1 2025
Defendant
SEER, U.S. DISTRICT COURT
ARREST WARRANT INNEAPOLIS, MINNESOTA

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Michael Paul Lewis .
who is accused of an offense or violation based on the following document filed with the court:

¥ Indictment Superseding Indictment Information Superseding Information Complaint
Probation Violation Petition Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows: Pretrial Release Violation Petition

Count 1: Threatening To Murder a United States Official, 18:115(a)(1)(B):
Count 2: Interstate Transmission of a Threat To Injure the Person of Another, 18:875(c).

Date: 04/17/2025

. Fogarty, Clerk of Court

Printed name and title

City and state: | Minneapolis, MN

Return

This warrant was received on (date) , and the person was arrested-or
at (city and state)

Date:

Arresting offices

ARRESTED ON VY!) Ueoes

ARRESTED BY \—_<
US Madea!

OTR OF WINNESOTA
BY

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Printed name and title

